
134 Mich. App. 764 (1982)
351 N.W.2d 881
MORAN
v.
McNEW
Docket No. 56468.
Michigan Court of Appeals.
Decided November 22, 1982.
Shanahan &amp; Scheid (by Clark Shanahan), for plaintiffs.
McGraw &amp; Borchard, P.C. (by Stephan M. Gaus), for David L. McNew and Norman Mesack, doing business as Long Lake Bar.
Smith &amp; Brooker, P.C. (by Harry P. Gill and Mona C. Doyle), for Mary Tepass, doing business as Whispering Pines Bar.
Before: R.B. BURNS, P.J., and D.F. WALSH and P.J. MARUTIAK,[*] JJ.
PER CURIAM.
On February 13, 1981, the trial court entered an order granting summary judgment in favor of defendants David L. McNew and Norman Mesack, doing business as Long Lake Bar and a judgment of no cause of action in favor of defendant Mary Tepass, doing business as Whispering Pines Bar. Plaintiffs have appealed as of right.
The Michigan Liquor Control Act provisions relating to lawsuits against bar owners or other *766 sellers of intoxicants, "dramshop actions", are an exclusive remedy in this state. There is no common-law dramshop remedy. Browder v International Fidelity Ins Co, 413 Mich 603, 613; 321 NW2d 668 (1982).
Moreover, the provision of MCL 436.22; MSA 18.993, mandating that "the minor or the alleged intoxicated person" be named as a defendant in the action, is mandatory and apparently without exception. Putney v Haskins, 414 Mich 181, 189-190; 324 NW2d 729 (1982).
Affirmed.
NOTES
[*]  Circuit judge, sitting on the Court of Appeals by assignment.

